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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WISCONSIN




UNITED STATES OF AMERICA,

                    Plaintiff,

      vs.                                          Case No. 18-cr-117-jdp

LARRY WOODS,

                    Defendant.




                       SENTENCING MEMORANDUM

      Larry Woods will spend the next 12 years in state prison. He was once a

police officer. And now he’s a convicted child molester. Inmates are unlikely to

welcome him to his new home. Acclimating will be a challenge.

      Woods won’t leave that home until July 2031. He’ll be 75. Today’s first-

graders will be old enough to smoke. We’ll be sharing the roads with today’s

kindergarteners. And there won’t be unfinished business with Woods that federal

prison can accomplish. Confining him in August 2031 won’t bear fruit that the

previous 144 months did not.

      A clear-eyed consideration of Woods’ state sentence, its relationship to the

§ 3553(a) factors, and his guidelines range show that the Court should impose a

10-year concurrent prison term.

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        1.      The circuit court considered Woods’s federal criminal
                conduct as aggravating factors in its own 12-year sentence.

       On September 27, 2019, Woods appeared for sentencing in Rock County

circuit court. He had pleaded guilty in July to repeatedly sexually assaulting the

same minor victim underlying his federal guilty plea. At the sentencing hearing,

the prosecution argued for 10 years’ imprisonment followed by 10 years’ of

supervision. Woods’s counsel urged the circuit court to impose a five-year prison

term before five years’ supervision.

       Neither side got what it asked for. The Honorable John M. Wood, Rock

County Circuit Judge, imposed a 12-year prison term. The circuit court’s analysis

was thoughtful and detailed, covering about 16 transcript pages. It was also an

unsparing look at Woods and his crimes; it took nearly 20 minutes but felt much

longer.1

       It’s worth revisiting the circuit court’s explanation because the remarks

reveal that its 12-year prison term was based on a comprehensive review of Woods

and his crime. Whatever one might say about its analysis, one wouldn’t call the

approach “confined,” “narrow,” or “limited” in scope.

       State court sentencing isn’t all that different from its federal counterpart.

The circuit court spoke directly to Woods. “Mr. Woods, as you well know given

your prior occupation, my obligation is to try to achieve a number of objectives



       1        A copy of the transcript is attached as Exhibit A. The undersigned also attended
the sentencing hearing in person.
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with regard to sentencing, and that applies to every individual that sits in the seat

that you’re currently occupying.” (Exh. A, 21-22.) Those objectives were roughly

equivalent to the § 3553(a) goals applied at a federal sentencing: “protection of the

community, punishment, rehabilitation, and specific deterrence.” (Exh. A, 22.)

       The circuit court then explained that in its effort to achieve those objectives,

it considers facts and circumstances that it breaks “into three general categories.”

(Exh. A, 22.) Again, these categories should be familiar to any federal court: “the

seriousness of the offense, the history and character of you, the offender, and

finally the needs of our community which certainly include the needs of the

victims.” (Exh. A, 22.)

       The offense’s gravity was not lost on the state court. Among the aggravating

factors, it underscored two that are germane to Woods’s federal transportation

crime here. First, it described how Woods’s use of hotels and his car helped conceal

his crimes. “The victim, herself, reported engaging in sexual intercourse two to

three times in a hotel in May of 2018. She reported engaging in oral sex over 100

times at hotels and in Mr. Woods’ vehicle.” (Exh. A, 23.

       This aggravating factor captures the primary evil that Woods’s

transportation crime produces. He drove her out-of-town, including across state

lines, to facilitate his state crimes. After all, transporting victims separates them

from those who would intercede: family, teachers, and friends. The “privacy” was

instead a means for concealing “their secret.” Unsurprisingly, Woods wasn’t keen

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for his conduct to be exposed. “She reported that Mr. Woods told her not to tell

anyone.” (Exh. A, 23.) And she posed as his “daughter” when checking-in to

motels. (Exh. A, 24.) This ruse is more likely to succeed in places where they

wouldn’t be recognized.

       Woods’s travel wasn’t meant to hide their “secret” relationship at all. It was

to conceal his crimes. As the circuit court noted, “I hesitate to even classify—

characterize this as a relationship. It’s offensive to the whole term relationship to

be quite honest with you.” (Exh. A, 31.)

       The circuit court also pointed to the harm Woods did to his victim, which

the travel reinforced. In its view, “there have been no physical injuries that we

know of, but the emotional trauma cannot be understated.” (Exh. A, 25.) Most

damaging is that the “victim still sees Mr. Woods as her boyfriend.” (Exh. A, 26.)

This is at least in part due to the fact that he spent many overnights with her as

any “adult” couple might. The travel and motel-stays must have reinforced her

“warped [] perspective,” viz., that she had the “emotional maturity” to engage in

an adult, romantic relationship. (See Exh. A, 26-27.) But she didn’t, and the travel

supported the lie.

      Given its opprobrium, the circuit court’s summation wasn’t surprising. It

didn’t pull punches when combining these aggravating factors: “this kind of

conduct shocks the conscience of the entire community.” (Exh. A, 31.) Strong

words. It observed, quite sensibly, “[w]hat mother and father would think that

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their child’s at risk being in the presence of a retired police officer of twenty-five

to thirty years? No one would.” (Exh. A, 31.)

       The circuit court delivered on its harsh assessment. It found the

prosecution’s recommendation inadequate. It confidently concluded instead that

the crimes’ gravity called for 12 years. Its remarks leave no doubt that if it had

thought more prison time were called for, it would have ordered a longer term.

       This Court should have no doubt that the circuit court looked at Woods’

conduct writ large, was appalled, and delivered a punishment it found equal to

his appalling crimes. Put another way, a judge considered the travel and

overnights. It explained in open court their aggravating impacts. And these

aggravators contributed to its conclusion that Woods earned a 12-year prison

sentence.


       2.     Confining Woods in prison after July 2031 is greater than
              necessary to achieve the goals of sentencing.

       The state’s 12-year prison term is thus the lens through which the Court

must analyze its sentencing options here. The earliest Woods could go into Bureau

of Prisons custody is in July 2031. He will be 75 years-old, and he will have spent

the preceding 12 years in state prison. Respectfully, release in August 2031

achieves nothing that July 2031 does not.

       For starters, retribution doesn’t counsel anything beyond July 2031. The

circuit court, made up of elected judges, is a fair proxy for the community’s

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outrage. A Rock County judge who is insensitive to the community’s need for

justice won’t last long. And the judge here called Woods’s conduct “disgusting.”

(See Exh. A, 29.)

       The judge then comfortably used the phrase “shocks the conscience of the

entire community” and decided that Woods should be imprisoned for the next 12

years. It’s hard to see how the circuit court’s assessment and response fall short of

what his crimes call for.

       At a less abstract level, it doesn’t make sense to add federal prison time

based upon the travel and overnights that already aggravated his state sentence.

It’s not as if the circuit court, in reaching its sentence, built silos around his

travelling with the victim or his overnight stays with her. Section 1 above shows

the contrary. It didn’t leave those aspects of Woods’ crimes for another court to

handle. It put them front and center in its own determination.

       Reasonable minds might disagree on whether release in July 2031 is

sufficient but not greater than necessary to achieve sentencing’s goals. August

2031 or beyond is difficult to justify because those additional days are 12 years

away. But one can imagine a justification that isn’t outright frivolous.

       That said, a consecutive sentence is an ambitious stretch with bizarre

implications. A total prison term of 22 years is simply too long. Prior defendants

who have done much worse for far longer and received far lower sentences.




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Woods doesn’t belong among the defendants who get sentences of two decades or

more.

        The message a consecutive sentence would send is one the Court should

avoid. Sentencing Woods to 10 years’ imprisonment consecutive to the state sex

crimes’ 12-year term implies a rough equivalence between his transportation

crimes and his sexual assault crimes. But there isn’t one. The transportation is

felonious conduct, but it doesn’t have near the gravity that contact offenses do.

The travel and overnights do not make the sex crimes nearly twice as serious. Or

rather, half of Woods’ crime was not driving the victim to motels. Rather, his

driving her is one of several moons orbiting the core sex crimes.

        The Court also should conclude that the 12-year term achieves deterrence

and protects the public. For those who are willing to commit sex crimes, additional

time for travel and overnights is unlikely to have a measurable deterrent effect.

Plus, after Woods’ 12-year term he’ll be on both state and federal probation; he’ll

also have to register as a sex offender. If his good health continues through his

prison term, it’ll be near impossible for him to commit a similar offense with two

agents’ looking over his shoulder. And if the circuit court is comfortable with

Woods’ return at age 75 to its constituency’s community, this Court should take

care before second-guessing it.




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       3.     A concurrent 10-year prison term comports with the
              sentencing guidelines as well as accounts for Woods’s
              aging.

      A 12-year concurrent term is still greater than necessary to achieve

sentencing’s goals. Woods’ state conviction is for relevant conduct and isn’t

properly counted as criminal history. The defense maintains its objection to the

presentence report. In past cases, the undersigned has failed to persuade the

United States Probation or this Court to apply such a narrow definition of relevant

conduct. The defense urges the Court not to depart from the settled understanding

of USSG §1B1.3.

       The state conviction does not score criminal history points because it’s for

relevant conduct—it’s for the same course of conduct with the same victim. See

USSG §1B1.3. Therefore, Woods has a criminal history category of I. (See DE 38.)

His offense level remains 29. (See PSR, ¶ 33.) This puts his properly calculated

guidelines range at 87 to 108 months. The 10-year statutory minimum for Woods

still over-punishes him because it’s a year longer than the sentencing guidelines’

high-end. A concurrent 12-year term exceeds the guidelines range by 3 years.

      A 10-year concurrent term not only reflects the sentencing guidelines range

but it also minimizes any compassionate-release issue that may arise. It wouldn’t

be at all surprising if Woods were to die in the next 12 years. And a situation may

arise that qualifies him for compassionate release—an opportunity to pass at home

with some dignity. The defense learned the hard way in United States v. Kurt Epps,


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15-cr-19-jdp, that securing compassionate release from one government is a

difficult task to complete when time is short. When two governments are involved,

satisfying each’s compassionate-release regime is a practical impossibility.

       A 10-year term for Woods avoids this problem for his 12-year term’s final

years, i.e., the years when he’s oldest. If he’s 74 and dying, the federal and state

systems’ moving parts are too many to quickly respond to an emergency. He’ll

have served an above-guidelines sentence at that point anyway, and he’ll still be

locked up. A federal sentence would only serve as an extra bureaucratic layer

without any § 3553(a) justification.

       Dated at Madison, Wisconsin, this November 4th, 2019.

                                          Respectfully submitted,


                                          /s/ Peter R. Moyers
                                          Peter R. Moyers
                                          Counsel for Larry Woods

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